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                         CERVANTES, individually and on behalf
                   8     of others similarly situated
                   9

                 10                           UNITED STATES DISTRICT COURT

                 11                          CENTRAL DISTRICT OF CALIFORNIA

                 12
                         ESTELA CERVANTES, individually                Case No. 2:18-cv-10005-RGK-MAA
                 13      and on behalf of all others similarly
                         situated,                                     PLAINTIFF’S NOTICE OF
                 14                                                    MOTION AND MOTION FOR
                               Plaintiff,                              PRELIMINARY APPROVAL OF
                 15                                                    CLASS ACTION SETTLEMENT
                               vs.
                 16                                                    [Filed concurrently with Declaration of
                         IHG MANAGEMENT (MARYLAND)                     Matthew J. Matern; and [Proposed]
                 17      LLC, a Maryland limited liability             Order Granting Preliminary Approval of
                         company; and DOES 1 through 50,               Class Action Settlement]
                 18      inclusive,
                                                                       Date:          April 22, 2019
                 19            Defendants.                             Time:          9:00 a.m.
                                                                       Courtroom:     850
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                  1      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
                  2            PLEASE TAKE NOTICE that on April 22, 2019, at 9:00 a.m., in Courtroom
                  3      850 of the United States District Court for the Central District of California, Roybal
                  4      Federal Building and Courthouse, located at 255 East Temple Street, Los Angeles,
                  5      California 90012, plaintiff Estela Cervantes (“Plaintiff”) will and hereby does move
                  6      this Court for entry of an order:
                  7            1.     Granting preliminary approval of the proposed class action settlement
                  8      set forth in the Stipulation of Class Action Settlement (“Stipulation”), attached as
                  9      Exhibit A to the Declaration of Matthew J. Matern;
                 10            2.     Approving the proposed Notice of Class Action Settlement (“Class
                 11      Notice”) and Information Sheet (collectively, the “Notice Packet”) and the plan for
                 12      distribution of the Notice Packet to Class Members;
                 13            3.     Provisionally certifying the class for settlement purposes only;
                 14            4.     Appointing Plaintiff as Class Representative;
                 15            5.     Appointing Matthew J. Matern, Launa Adolph and Kayvon Sabourian
                 16      of Matern Law Group, PC, as Class Counsel;
                 17            6.     Appointing Rust Consulting, Inc. as the Settlement Administrator; and
                 18            7.     Scheduling a Final Approval Hearing.
                 19            This motion is made on the grounds that the proposed settlement is fair,
                 20      adequate, and reasonable, and the Class Notice fairly and adequately informs the
                 21      Class Members of the terms of the proposed Settlement, their potential awards, their
                 22      rights and responsibilities, and the consequences of the Settlement.
                 23            This motion is based on this notice, the attached memorandum of points and
                 24      authorities, the Declaration of Matthew J. Matern and all exhibits thereto, including
                 25      the Stipulation, all documents and records on file in this matter, and such additional
                 26      argument, authorities, evidence and other matters as may be presented by the parties
                 27      hereafter. This motion is made following the conferences of counsel pursuant to
                 28      Local Rule 7-3 on March 15, 2019. Defendant does not oppose this motion.
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                  1      DATED: March 25, 2019         Respectfully submitted,
                  2                                    MATERN LAW GROUP, PC
                  3
                  4                              By:      /s/ Matthew J. Matern
                  5                                    MATTHEW J. MATERN
                                                       LAUNA ADOLPH
                  6                                    KAYVON SABOURIAN
                                                       Attorneys for Plaintiff ESTELLA
                  7                                    CERVANTES
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                   1     I.    INTRODUCTION
                   2           Plaintiff Estela Cervantes (“Plaintiff”) seeks preliminary approval of a
                   3     proposed wage-and-hour class action settlement on behalf of all persons employed
                   4     by defendant IHG Management (Maryland) LLC (“Defendant”) as non-exempt
                   5     employees at the Crowne Plaza Redondo Beach and Marina hotel in Redondo
                   6     Beach, California, at any time from September 28, 2014 through the earlier of May
                   7     27, 2019 or the date the Court grants preliminary approval (the “Class Period”).
                   8     The Stipulation provides for a non-reversionary settlement in the amount of
                   9     $510,000.00.
                 10            The Settlement was reached after formal and informal discovery and arms’-
                 11      length, non-collusive bargaining between counsel, including an all-day mediation
                 12      with an experienced mediator. The settlement amount represents a substantial
                 13      recovery for the Class Members based on the claims alleged and the defenses
                 14      thereto. Furthermore, the Settlement does not suffer any obvious deficiencies or
                 15      provide preferential treatment to Plaintiff or any segment of the class. In sum, the
                 16      proposed Settlement is fair, reasonable and adequate and should be preliminarily
                 17      approved.
                 18            Additionally, the proposed notice procedure is appropriate and meets all
                 19      requirements as to method and form.            The Notice of Class Action Settlement
                 20      (“Class Notice”) and Information Sheet (collectively, “Notice Packet”) will be
                 21      mailed to the Class Members by First Class U.S. Mail at their last known addresses,
                 22      as updated by the Settlement Administrator, in both English and Spanish. The
                 23      Notice Packet fairly apprises the Class Members of the terms of the proposed
                 24      Settlement and of their rights and options in connection with the proceedings.
                 25            Finally, provisional class certification, for settlement purposes only, is
                 26      appropriate because: (1) the class is so numerous that joinder of all Class Members
                 27      is impracticable; (2) there are questions of law and fact common to the class; (3)
                 28      Plaintiff’s claims are typical of the claims of the class; (4) Plaintiff and her counsel
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                  1      will fairly and adequately protect the interests of the Class; and (5) questions of law
                  2      and fact common to Class Members predominate over any questions affecting only
                  3      individual Class Members, and a class action is superior to other available methods
                  4      for fairly and efficiently adjudicating the controversy.
                  5            Accordingly, Plaintiff respectfully requests the Court enter an order (1)
                  6      granting preliminary approval of the Settlement; (2) authorizing the mailing of the
                  7      Notice Packets to the Class Members; (3) provisionally certifying the class for
                  8      settlement purposes only; and (4) setting a hearing to consider whether to grant
                  9      final approval of the Settlement and to consider the requests for attorneys’ fees and
                 10      costs and an incentive award to Plaintiff.
                 11      II.   FACTUAL AND PROCEDURAL BACKGROUND
                 12            A.     The Parties
                 13            IHG operated the Crowne Plaza Redondo Beach and Marina hotel in
                 14      Redondo Beach, California throughout the Class Period. (Matern Decl., ¶ 3, Dkt.
                 15      24-1.) Plaintiff was employed as a room attendant at the Crowne Plaza Redondo
                 16      Beach and Marina hotel from August 2001 to July 30, 2017. Id. at ¶ 4.
                 17            B.     Procedural History
                 18            On September 28, 2018, Plaintiff filed this putative class and representative
                 19      action against Defendant in Los Angeles Superior Court, alleging causes of action
                 20      for: (1) failure to provide meal periods; (2) failure to authorize and permit rest
                 21      periods; (3) failure to pay minimum wages; (4) failure to pay overtime wages; (5)
                 22      failure to pay all wages due to discharged and quitting employees; (6) failure to
                 23      maintain required records; (7) failure to furnish accurate itemized wage statements;
                 24      (8) failure to indemnify employees for necessary expenditures incurred in discharge
                 25      of duties; (9) unfair and unlawful business practices; and (10) penalties under the
                 26      Labor Code Private Attorneys General Act (“PAGA”). (Pl.’s Complaint, Dkt. 1-2.)
                 27      On November 28, 2018, Defendant answered the Complaint. (Def.’s Answer, Dkt.
                 28
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                  1      1-3.) On November 29, 2018, Defendant removed this case to this Court under the
                  2      Class Action Fairness Act. (Notice of Removal, Dkt. 1.)
                  3            C.     Discovery and Investigation
                  4            Prior to filing the Complaint, Plaintiff’s counsel conducted an extensive
                  5      investigation including interviewing Plaintiff, reviewing documents provided by
                  6      Plaintiff and other publicly-available documents, and conducting research regarding
                  7      applicable California Labor Code sections and the Industrial Welfare Commission
                  8      Wage Order. (Matern Decl., ¶ 9, Dkt. 24-1.)
                  9            The Parties also engaged in significant discovery after the Complaint was
                 10      filed. Plaintiff propounded written discovery, including interrogatories, requests for
                 11      admission, and requests for production of documents. Id. at ¶ 10. Following
                 12      receipt of Defendant’s responses, the Parties engaged in extensive meet and confer
                 13      efforts and participated in an Informal Telephonic Discovery Conference with
                 14      Magistrate Judge Maria A. Audero. Id. at ¶ 11. As a result of the Parties’ meet and
                 15      confer efforts, Defendant supplemented its discovery responses. Id. Defendant
                 16      also propounded, and Plaintiff responded to, interrogatories and requests for
                 17      production of documents. Id. at ¶ 12.
                 18            Prior to mediation, Defendant produced, among other documents, all relevant
                 19      wage and hour policy documents, collective bargaining agreements, and a sampling
                 20      of the timekeeping and payroll records. Id. at ¶ 13. Plaintiff retained a statistical
                 21      analyst to analyze the sampling of Class Members’ timekeeping and payroll
                 22      records, which assisted Plaintiff’s counsel in preparing a damages model prior to
                 23      mediation. Id.
                 24            D.     Settlement Negotiations
                 25            On February 15, 2019, the Parties participated in a private mediation session
                 26      with experienced mediator Lisa Klerman, Esq. Id. at ¶ 15. The mediation session
                 27      lasted all day but the Parties were unable to reach a resolution. Id. Following the
                 28      mediation, the Parties continued to engage in settlement discussions with the
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                  1      assistance of Ms. Klerman. Id. at ¶ 16. On April 12, 2019, Ms. Klerman issued a
                  2      mediator’s proposal which set forth the material terms of a proposed settlement
                  3      which would fully resolve this matter. Id. at ¶ 17. The Parties accepted the
                  4      mediator’s proposal on April 13, 2019, subject to entering into a more
                  5      comprehensive written settlement agreement. Id. at ¶ 18. The Stipulation was fully
                  6      executed on March 22, 2019. (Stipulation, Matern Decl., Ex. A, Dkt. 24-2.)
                  7      III.   SUMMARY OF SETTLEMENT
                  8             A.    The Class
                  9             The proposed class consists of all persons employed by Defendant as non-
                 10      exempt employees at the Crowne Plaza Redondo Beach and Marina hotel in
                 11      Redondo Beach, California, at any time from September 28, 2014 through the
                 12      earlier of May 27, 2019 or the date of entry of the Preliminary Approval Order.
                 13      (Stipulation, Matern Decl., Ex. A at ¶¶ 6, 8, Dkt. 24-2.) There are approximately
                 14      210 Class Members. (Matern Decl., ¶ 5, Dkt. 24-1.)
                 15             B.    Settlement Terms
                 16             Under the proposed Settlement, the claims of all Class Members shall be
                 17      settled for the Maximum Settlement Amount of Five Hundred Ten Thousand
                 18      Dollars ($510,000.00) which shall be inclusive of all Individual Settlement
                 19      Payments to Participating Class Members, the Class Counsel Award, the Class
                 20      Representative Service Award, Settlement Administration Costs, and the PAGA
                 21      payment to the LWDA. (Stipulation, Matern Decl., Ex. A at ¶ 20, Dkt. 24-2.) The
                 22      Employer’s Share of Payroll Taxes shall be paid by Defendant in addition to the
                 23      Maximum Settlement Amount. (Stipulation, Matern Decl., Ex. A at ¶ 47(f), Dkt.
                 24      24-2.) No portion of the Maximum Settlement Amount shall revert to Defendant or
                 25      result in an unpaid residue. (Stipulation, Matern Decl., Ex. A at ¶ 47(a), Dkt. 24-2.)
                 26             The Maximum Settlement Amount shall be allocated as follows:
                 27             1.    Individual Settlement Payments. All Class Members shall be eligible
                 28      to receive a share of the Net Settlement Amount, which equals the Maximum
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                  1      Settlement Amount, less the Class Counsel Award, the Class Representative
                  2      Service Award, Settlement Administration Costs, and the PAGA payment to the
                  3      LWDA. (Stipulation, Matern Decl., Ex. A at ¶ 21, Dkt. 24-2.) The Net Settlement
                  4      Amount shall be distributed to the Participating Class Members on a pro rata basis
                  5      according to the total number of Compensable Workweeks. (Stipulation, Matern
                  6      Decl., Ex. A at ¶ 47(a)(i), Dkt. 24-2.)1
                  7            2.     Class Representative Service Award.        Subject to Court approval,
                  8      Plaintiff shall be paid a Class Representative Service Award not to exceed Five
                  9      Thousand Dollars ($5,000.00) for her time and effort in bringing and presenting the
                 10      Action and for releasing her Released Claims. (Stipulation, Matern Decl., Ex. A at
                 11      ¶ 47(b), Dkt. 24-2.)
                 12            3.     Class Counsel Award. Subject to Court approval, Plaintiff’s Counsel
                 13      shall receive an award of attorneys’ fees in an amount not to exceed One Hundred
                 14      Sixty-Eight Thousand Three Hundred Dollars ($168,300.00), which equals thirty-
                 15      three percent (33%) of the Maximum Settlement Amount, and reimbursement of
                 16      litigation costs and expenses in an amount not to exceed Twenty-Two Thousand
                 17      Dollars ($22,000.00). (Stipulation, Matern Decl., Ex. A at ¶ 47(c), Dkt. 24-2.)
                 18            4.     Payment to the LWDA.           Subject to Court approval, Twenty-Five
                 19      Thousand Dollars ($25,000.00) from the Maximum Settlement Amount will be
                 20      allocated as penalties under PAGA, of which seventy-five percent (75%), or
                 21      Eighteen Thousand Seven Hundred Fifty Dollars ($18,750.00) will be paid to the
                 22      LWDA. (Stipulation, Matern Decl., Ex. A at ¶ 47(d), Dkt. 24-2.) The remaining
                 23      twenty-five percent (25%) of the amount allocated toward PAGA penalties (i.e.,
                 24
                         1
                           Individual Settlement Payment checks will remain negotiable for 180 days from
                 25      the date of mailing. (Stipulation, Matern Decl., Ex. A at ¶ 47(a)(iv), Dkt. 24-2.) If
                 26      an Individual Settlement Payment check remains uncashed after 180 days from
                         issuance, the Settlement Administrator shall pay over the amount represented by the
                 27      check to the State Controller’s Office Unclaimed Property Fund, with the identity
                 28      of the Class Member to whom the funds belong. Id.
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                  1      $6,250.00) shall be part of the Net Settlement Amount and will be distributed to
                  2      Participating Class Members as part of their Individual Settlement Payments. Id.
                  3            5.     Settlement Administration Costs.      Subject to Court approval, the
                  4      Settlement Administration Costs which are estimated not to exceed Ten Thousand
                  5      Dollars ($10,000.00) shall be paid from the Maximum Settlement Amount.
                  6      (Stipulation, Matern Decl., Ex. A at ¶ 47(e), Dkt. 24-2.)
                  7            C.     Release
                  8            Upon the Effective Date, Plaintiff and all other Participating Class Members
                  9      shall be deemed to have released the Released Parties from any and all claims,
                 10      debts, demands, rights, liabilities, costs, damages, attorneys’ fees, actions, and/or
                 11      causes of action that were pleaded or could have been pleaded based upon the
                 12      factual allegations set forth in the operative Complaint filed in this Action and
                 13      arising at any time during the Class Period, including any and all claims for (1)
                 14      failure to provide meal periods; (2) failure to authorize and permit rest periods; (3)
                 15      failure to pay minimum wages; (4) failure to pay overtime wages; (5) failure to pay
                 16      all wages due to discharged and quitting employees; (6) failure to maintain required
                 17      records; (7) failure to furnish accurate itemized wage statements; (8) failure to
                 18      indemnify employees for necessary expenditures incurred in discharge of duties; (9)
                 19      unfair and unlawful business practices under the California Business & Professions
                 20      Code (including Section 17200, et seq.); and (10) penalties pursuant to PAGA, and
                 21      any claims for other equitable relief, liquidated damages, punitive damages, or
                 22      penalties. (Stipulation, Matern Decl., Ex. A at ¶¶ 28, 45, Dkt. 24-2.)
                 23            “Released Parties” means (i) Defendant; (ii) its past, present and future
                 24      subsidiaries, parents, affiliated and related companies, divisions, successors,
                 25      predecessors or assigns, and (iii) its past, present, and future officers, directors,
                 26      shareholders, partners, agents, insurers, employee, advisors, accountants,
                 27      representatives, trustees, heirs, executors, administrators, predecessors, successors
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                  1      or assigns of any of the foregoing. (Stipulation, Matern Decl., Ex. A at ¶ 30, Dkt.
                  2      24-2.)
                  3               D.   Class Notice and Settlement Administration
                  4               Within fourteen (14) days of entry of the Preliminary Approval Order,
                  5      Defendant shall provide the Settlement Administrator with each Class Member’s
                  6      full name; last known address; Social Security number; and Compensable
                  7      Workweeks (“Class Information”) for purposes of mailing the Notice Packets to
                  8      Class Members. (Stipulation, Matern Decl., Ex. A at ¶¶ 5, 46(a), Dkt. 24-2.) Upon
                  9      receipt of the Class Information, the Settlement Administrator will perform a search
                 10      based on the National Change of Address Database maintained by the United States
                 11      Postal Service to update and correct any known or identifiable address changes.
                 12      (Stipulation, Matern Decl., Ex. A at ¶¶ 5, 46(a)(i), Dkt. 24-2.) Within fourteen (14)
                 13      days after receiving the Class Information from Defendant as provided herein, the
                 14      Settlement Administrator shall mail copies of the Class Notice and Information
                 15      Sheet, in both English and Spanish (the “Notice Packet”), to all Class Members via
                 16      regular First Class U.S. Mail.    Id. The Information Sheet will provide Class
                 17      Members with an estimate of their Individual Settlement Payment based on their
                 18      Compensable Workweeks. (Stipulation, Matern Decl., Ex. A at Ex. 2, Dkt. 24-2.)
                 19      Class Members will have the opportunity, should they disagree with the number of
                 20      Compensable Workweeks stated on the Information Sheet, to provide
                 21      documentation and/or an explanation to show contrary information. Id.
                 22               Class Members who wish to exclude themselves from the Settlement must
                 23      submit a Request for Exclusion to the Settlement Administrator within sixty (60)
                 24      days after the Settlement Administrator mails the Notice Packets to Class Members
                 25      (“Response Deadline”). (Stipulation, Matern Decl., Ex. A at ¶ 32, Dkt. 24-2.) To
                 26      be valid, the Request for Exclusion must: (1) contain the name, address, and
                 27      telephone number of the person requesting exclusion; (2) be signed by the Class
                 28      Member; and (3) be postmarked by the Response Deadline and returned to the
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                  1      Settlement Administrator at the specified address. (Stipulation, Matern Decl., Ex.
                  2      A at ¶ 46(b), Dkt. 24-2.)
                  3            Class Members who wish to object to the Settlement must submit to the
                  4      Settlement Administrator a Notice of Objection by the Response Deadline.
                  5      (Stipulation, Matern Decl., Ex. A at ¶ 46(c), Dkt. 24-2.). To be valid, the Notice of
                  6      Objection must: state the full name, address, telephone number and last four digits
                  7      of the Class Member’s Social Security Number; (2) be signed by the Class
                  8      Member; (3) state the grounds for the objection; (4) state whether the Class
                  9      Member intends to appear at the Final Approval Hearing; and (5) be postmarked by
                 10      the Response Deadline and returned to the Settlement Administrator at the specified
                 11      address. Id.
                 12      IV.   ARGUMENT
                 13            A.       The Settlement Meets The Requirements For Preliminary
                 14                     Approval
                 15            Pursuant to Federal Rule of Civil Procedure 23(e), “[t]he claims, issues, or
                 16      defenses of a certified class may be settled, voluntarily dismissed, or compromised
                 17      only with the court’s approval.” Fed. R. Civ. Proc. § 23(e). Before a court
                 18      approves a settlement, it must conclude that the settlement is “fundamentally fair,
                 19      adequate and reasonable.” In re Heritage Bond Litig., 546 F.3d 667, 674-75 (9th
                 20      Cir. 2009). Generally, the district court’s review of a class action settlement is
                 21      “extremely limited.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir.
                 22      1998). The court considers the settlement as a whole, rather than its components,
                 23      and lacks authority to “delete, modify or substitute certain provision.” Id. (quoting
                 24      Officers for Justice v. Civil Serv. Comm’n of San Francisco, 688 F.2d 615, 630 (9th
                 25      Cir. 1982)).
                 26            At the preliminary approval stage, a court may grant preliminary approval of
                 27      a settlement and direct notice if the settlement: (1) appears to be the product of
                 28      serious, informed, non-collusive negotiations; (2) has no obvious deficiencies; (3)
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                  1      does not improperly grant preferential treatment to the class representative or
                  2      segments of the class; and (4) falls within the range of possible approval. See
                  3      Alvarado v. Nederend, 2011 WL 90228, *5 (E.D. Cal. Jan. 11, 2011); Joseph M.
                  4      McLaughlin, McLaughlin on Class Actions: Law and Practice § 6.6 (7th ed. 2011)
                  5      (“Preliminary approval is an initial evaluation by the court of the fairness of the
                  6      proposed settlement, including a determination that there are no obvious
                  7      deficiencies such as indications of a collusive negotiation, unduly preferential
                  8      treatment of class representatives or segments of the class, or excessive
                  9      compensation of attorneys . . . .”). As each of these factors is met here, preliminary
                 10      approval is appropriate.
                 11                   1.    The Settlement Is The Product Of Informed, Arm’s Length
                 12                         Negotiations
                 13            An initial presumption of fairness exists where, as here, “the settlement is
                 14      recommended by class counsel after arm’s-length bargaining.” Harris v. Vector Mktg.
                 15      Corp., 2011 WL 1627973, at *8 (N.D. Cal. Apr. 29, 2011) (citation omitted). Here,
                 16      the Settlement was reached after extensive negotiations. On March 15, 2019, the
                 17      Parties participated in a full-day mediation session with Lisa Klerman, Esq., a well-
                 18      respected mediator experienced in handling complex wage-and-hour matters.
                 19      (Matern Decl., ¶ 15, Dkt. 24-1.) While the Parties were unable to reach a resolution
                 20      at the mediation, they continued to engage in settlement discussions with the
                 21      assistance of Ms. Klerman. Id. at ¶¶ 16, 16. Nearly one month later, on April 12,
                 22      2019, Ms. Klerman made a mediator’s proposal which set forth the material terms
                 23      of a proposed settlement which would fully resolve this matter. Id. ¶ 17. The
                 24      Parties accepted the mediator’s proposal on April 13, 2019. Id. at ¶ 18.
                 25            These circumstances are the antithesis of collusion and show that the
                 26      settlement negotiations were at arm’s length and, although conducted in a
                 27      professional manner, were adversarial. Id. at ¶ 20. The Parties went into the
                 28      mediation session willing to explore the potential for a settlement of the dispute, but
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                  1      were prepared to litigate their positions through trial and appeal if a settlement had
                  2      not been reached. Id.
                  3            Plaintiff and her counsel were able to make an informed decision regarding
                  4      settlement, as Plaintiff conducted significant formal and informal discovery and
                  5      investigation prior to the mediation.           Before filing the Complaint, Plaintiff
                  6      conducted an extensive investigation including interviewing Plaintiff, reviewing
                  7      documents provided by Plaintiff and other publicly-available documents, and
                  8      conducting research regarding applicable California Labor Code Sections and
                  9      Industrial Welfare Commission Wage Orders. Id. at ¶ 9. After the Complaint was
                 10      filed, the Parties propounded and responded to written discovery, including
                 11      interrogatories, requests for admission, and requests for production of documents.
                 12      Id. at ¶ 10. Prior to mediation, Defendant produced, among other documents, all
                 13      relevant wage and hour policy documents, collective bargaining agreements, and a
                 14      sampling of the timekeeping and payroll records. Id. at ¶ 13. Plaintiff retained a
                 15      statistical analyst to analyze the sampling of Class Members’ timekeeping and
                 16      payroll records which assisted Plaintiff’s counsel in preparing a damages model
                 17      prior to mediation. Id. Based on the information and record developed through
                 18      extensive investigation and discovery, Plaintiff’s counsel was able to act
                 19      intelligently and effectively in negotiating the proposed Settlement. Id. at ¶ 14.
                 20                   2.    The Settlement Does Not Suffer From Any Obvious
                 21                         Deficiencies
                 22            The second factor the Court considers is whether there are obvious
                 23      deficiencies in the settlement. Under the terms of the Settlement, IHG will pay
                 24      $510,000.00 to resolve this Action. This is a substantial recovery for the Class
                 25      Members, which takes into consideration the significant risks of proceeding with
                 26      the litigation, including obtaining and maintaining class certification, the burdens of
                 27      proof necessary to establish liability, the class certification and merits defenses
                 28      raised by Defendant, the difficulties in establishing damages, the likelihood of
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                  1      success a trial, and the probability of appeal in the event of a favorable judgment
                  2      for Plaintiff. (Matern Decl., ¶¶ 21-28, Dkt. 24-1.) Accordingly, the proposed
                  3      Settlement does not suffer from any obvious deficiencies.
                  4                   3.     The Settlement Does Not Provide Preferential Treatment To
                  5                          Plaintiff Or Any Segment Of The Class
                  6            Under the third factor, the Court examines whether the proposed settlement
                  7      provides preferential treatment to any class member. Here, the proposed Settlement
                  8      poses no risk of unequal treatment of any Class Member, as each Participating
                  9      Class Member’s Individual Settlement Payment will be calculated on a pro rata
                 10      basis, based upon his or her Compensable Workweeks. (Stipulation, Matern Decl.,
                 11      Ex. A at ¶ 47(a)(i), Dkt. 24-2.)
                 12            Subject to Court approval, the Settlement provides for a Class Representative
                 13      Service Award to Plaintiff in an amount not to exceed $5,000.00. (Stipulation,
                 14      Matern Decl., Ex. A at ¶ 47(b), Dkt. 24-2.)       This modest payment is for the
                 15      substantial risk assumed by and the services undertaken by Plaintiff on behalf of the
                 16      Class Members. The Ninth Circuit has recognized that service awards to named
                 17      plaintiffs in class actions are permissible. See Staton v. Boeing Co., 327 F.3d 938,
                 18      977 (9th Cir. 2003); see also Rodriguez v. West Publ’g Corp., 563 F. 3d 948, 958-
                 19      69 (9th Cir. 2009) (finding that the payment of a service award is “fairly typical in
                 20      class actions”). Furthermore, the Court will ultimately determine whether Plaintiff
                 21      is entitled to the requested service award at the Final Approval Hearing, after
                 22      Plaintiff submits a declaration outlining the efforts expended and risks taken on
                 23      behalf of the Class Members.       See Harris v. Vector Mktg. Corp., 2011 WL
                 24      1627973, at *9. Thus, the absence of any preferential treatment supports
                 25      preliminary approval.
                 26      ///
                 27      ///
                 28      ///
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                  1                   4.     The Settlement Falls Within The Range Of Possible
                  2                          Approval
                  3            Finally, the Court must consider whether the settlement falls within the range
                  4      of possible approval. “To evaluate the range of possible approval criterion, which
                  5      focuses on substantive fairness and adequacy, courts primarily consider plaintiffs’
                  6      expected recovery balanced against the value of the settlement offer.” Vasquez v.
                  7      Coast Valley Roofing, Inc., 670 F. Supp. 2d 1114, 1125 (E.D. Cal. 2009) (citing In
                  8      re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1080 (N.D. Cal. 2007)
                  9      (internal quotations omitted).
                 10            Plaintiff’s counsel calculates the maximum potential damages, exclusive of
                 11      penalties and interest, to be approximately $2,635,313.60 in the event that (1)
                 12      Plaintiff’s meal break, rest break, minimum wage, and overtime claims are
                 13      certified; and (2) Plaintiff is able to establish liability on each of these claims at
                 14      trial. (Matern Decl., ¶ 14, Dkt. 24-1.)2 Defendant contests liability, as well as the
                 15      propriety of certification, and is prepared to vigorously oppose certification and to
                 16      defend against Plaintiff’s claims if the action does not settle. Id. at ¶ 23. Given the
                 17      maximum potential damages, as well as the substantial risks entailed by this case,
                 18      the $510,000 non-reversionary settlement sum is within the range of possible
                 19      approval. Id. at ¶ 24.
                 20            The Settlement obviates the significant risk that this Court may deny
                 21      certification of all or some of Plaintiff’s claims, particularly in light of certification
                 22      standards under Federal Rule of Civil Procedure, Rule 23, as articulated by the
                 23      United States Supreme Court in Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541
                 24      (U.S. 2011). Further, even if Plaintiff obtained certification of some or all of the
                 25      claims, continued litigation would be expensive, involving a trial and possible
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                 27      2
                          A detailed explanation of Plaintiff’s valuation, including Defendant’s defenses, is
                 28      set forth in Paragraph 22 of the Matern Declaration.
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                  1      appeals, and would substantially delay and reduce any recovery by the Class
                  2      Members. (Matern Decl., ¶ 25, Dkt. 24-1.) While Plaintiff is confident in the
                  3      merits of her claims, a legitimate controversy exists as to each cause of action. Id.
                  4      at ¶ 26. Plaintiff also recognizes that proving the amount of wages due to each
                  5      Class Member would be an expensive, time-consuming, and uncertain proposition.
                  6      Id. In contrast, because of the proposed Settlement, Class Members will receive
                  7      timely relief and avoid the risk of an unfavorable judgment. Id. Based on an
                  8      estimated Net Settlement Amount of $290,950.00, it is estimated that each Class
                  9      Member, on average, will receive $1,385.48 as a result of the Settlement. Id. at ¶
                 10      27. The fact that the Settlement will eliminate delay and further expenses weighs
                 11      strongly in favor of approval. See Rodriguez, 563 F.3d at 966.
                 12            B.     The Proposed Class Notice Is An Appropriate Form Of Giving
                 13                   Notice And Satisfies Due Process
                 14            “Adequate notice is critical to court approval of a class settlement under Rule
                 15      23(e).” Hanlon, 150 F.3d at 1025. The specific requirements for the content of a
                 16      class notice are set forth in Federal Rule of Civil Procedure Rule 23(c)(2)(B). In
                 17      the Ninth Circuit, notice is satisfactory if it “generally describes the terms of the
                 18      settlement in sufficient detail to alert those with adverse viewpoints to investigate
                 19      and to come forward and be heard.” Churchill Vill., L.L.C. v. GE, 361 F.3d 566,
                 20      575 (9th Cir. 2004) (citing Mendoza v. United States, 623 F.2d 1338, 1352 (9th Cir.
                 21      1980)).
                 22            The proposed Class Notice satisfies these content requirements. The Class
                 23      Notice, which will be provided in both English and Spanish, is written in plain,
                 24      concise language that, among other things, includes: (1) basic information about the
                 25      Action and the Settlement; (2) the definition of the proposed class; (3) a description
                 26      of the claims in the Action; (4) an explanation of how Class Members can obtain
                 27      benefits under the Settlement; (5) an explanation of how Class Members can
                 28      exercise their right to request exclusion from or object to the Settlement; (6)
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                  1      information regarding the scope of the Released Claims and the binding effect of
                  2      the Settlement; (7) the date and time of the Final Approval Hearing; and (8) contact
                  3      information to obtain additional information. (See Stipulation, Matern Decl., Ex. A
                  4      at Ex. 1, Dkt. 24-2.)
                  5            The Class Notice provides Class Members with sufficient information to
                  6      make an informed and intelligent decision about the Settlement. Accordingly, it
                  7      satisfies the content requirements of Rule 23(e) and satisfies all due process
                  8      requirements. See In re Wells Fargo Loan Processor Overtime Pay Litig., 2011
                  9      WL 3352460, at *4 (N.D. Cal. Aug. 2, 2011); Rodriguez, 563 F.3d at 963 (where
                 10      class notice communicated the essentials of the proposed settlement in a sufficiently
                 11      balanced, accurate, and informative way, it satisfied due process concerns).
                 12            Additionally, prior to mailing the Class Notice to each Class Member, the
                 13      Settlement Administrator shall perform a search of the Class Members’ addresses
                 14      using the United States Postal Service’s National Change of Address Database in
                 15      order to update and correct any known or identifiable address changes.
                 16      (Stipulation, Matern Decl., Ex. A at ¶ 46(a)(i), Dkt. 24-1.) Direct mail notice to
                 17      Class Members’ last known addresses is the best notice possible under the
                 18      circumstances. See Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306,
                 19      319(1950); Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173-76 (1974).
                 20            In sum, the contents and plan for dissemination of the Class Notice constitute
                 21      the best notice practicable under the circumstances and fully comply with the
                 22      requirements of Rule 23.
                 23            C.     The Court Should Provisionally Certify The Class For Settlement
                 24                   Purposes
                 25            A party seeking to certify a class must demonstrate that she has met the “four
                 26      threshold requirements of Federal Rule of Procedure 23(a): (i) numerosity; (ii)
                 27      commonality; (iii) typicality; and (iv) adequacy of representation.”          Levya v.
                 28      Medline Indus, Inc., 716 F.3d 510, 512 (9th Cir. 2013). Once these prerequisites
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                  1      are satisfied, a court must consider whether the proposed class can be maintained
                  2      under at least one of the requirements of Rule 23(b). Wal-Mart Stores, Inc. v.
                  3      Dukes, 131 S. Ct. 2541, 2548 (2011). Plaintiff, here, seeks certification pursuant to
                  4      Rule 23(b)(3), which requires that “questions of law or fact common to class
                  5      members predominate over any questions affecting only individual members, and
                  6      that a class action is superior to other available methods for fairly and efficiently
                  7      adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Each of these requirements
                  8      is satisfied here.
                  9                    1.     The Proposed Class Is Sufficiently Numerous
                 10             The numerosity requirement is satisfied when “joinder of all members is
                 11      impracticable.” Fed. R. Civ. P. 23(a)(1). The numerosity requirement is not tied to
                 12      any fixed numerical threshold, but courts generally find the numerosity requirement
                 13      satisfied when a class includes at least 40 members. Rannis v. Recchia, 380 F.
                 14      App’x 646, 650-51 (9th Cir. 2010) (affirming certification of a class of 20).          A
                 15      reasonable estimate of the number of purported class members is sufficient to meet the
                 16      numerosity requirement. In re Badger Mountain Irr. Dist. Sec. Litig., 143 F.R.D. 693
                 17      (W.D. Wash. 1992).       Here, the proposed class consists of approximately 210
                 18      persons. (Matern Decl., ¶ 5, Dkt. 24-1.) Thus, the class is sufficiently numerous so
                 19      as to make joinder impracticable.
                 20                    2.     Common Questions Of Law And Fact Predominate
                 21             For a class to be certified, there must be questions of law or fact common to
                 22      the class. Fed. R. Civ. P. 23(a)(2). Rule 23(b)(3) also requires that the common
                 23      questions of law or fact predominate over any individual questions. Thus, the Rule
                 24      23(a)(2) commonality inquiry and the Rule 23(b)(3) predominance inquiry overlap.
                 25      In re AutoZone, 289 F.R.D. 526, 533, n.10 (N.D. Cal. 2012).
                 26             “When common questions present a significant aspect of the case and they
                 27      can be resolved for all members of the class in a single adjudication, there is clear
                 28      justification for handling the dispute on a representative rather than on an individual
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                  1      basis.” Local Joint Executive Bd. of Culinary/Bartender Trust Fund v. Las Vegas
                  2      Sands, Inc., 244 F.3d 1152, 1162 (9th Cir. 2001), cert. denied, 534 U.S. 973, 122 S.
                  3      Ct. 395, 151 L. Ed. 2d 299 (2001). Individualized or deviating facts will not
                  4      preclude class treatment if most class members were subjected to a company policy
                  5      in a way that gives rise to consistent liability or lack thereof. See Arrendondo v.
                  6      Delano Farms Co., 2011 WL 1486612, at *15 (E.D. Cal. Apr. 19, 2011). Where
                  7      there is common conduct of wrongdoing affecting all members of a class, common
                  8      questions predominate. Blackie v. Barrack, 524 F.2d 891, 905 (9th Cir. 1975).
                  9            The predominance requirement is satisfied here. Plaintiff and the Class
                 10      Members’ claims arise from common, uniform practices which Plaintiff contends
                 11      applied to all Class Members during the Class Period, and involve common
                 12      questions of law and fact, including but not limited to: (1) whether Defendant’s
                 13      meal break policy is facially unlawful; (2) whether Defendant failed to relieve
                 14      employees of all duty and employer control during their rest breaks; (3) whether
                 15      Defendant’s rounding policy resulted in systematic underpayment of wages; (4)
                 16      whether Defendant willfully failed to pay all wages due to Class Members upon
                 17      separation; and (5) whether Class Members are entitled to penalties under Labor
                 18      Code section 226(e). As Defendant’s policies and practices, and the questions of
                 19      law and fact they are raise, are the heart of this case and apply uniformly to all
                 20      Class Members, certification is appropriate.
                 21                  3.     Plaintiff’s Claims Are Typical Of Those Of The Class
                 22                         Members
                 23            The typicality requirement is satisfied where the named plaintiff is a member
                 24      of the proposed class and his or her claims are “reasonably coextensive with those
                 25      of the absent class members,” though “they need not be substantially identical.”
                 26      Fed. R. Civ. P. 23(a)(3); Hanlon, 150 F.3d at 1020; Hanon v. Dataprods. Corp.,
                 27      976 F.2d 497, 508 (9th Cir. 1992). Typicality turns on “whether other members
                 28      have the same or similar injury, whether the action is based on conduct which is not
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                  1      unique to the named plaintiffs, and whether other class members have been injured
                  2      by the same course of conduct.” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 984
                  3      (9th Cir. 2011) (quoting Hanon v. Dataprods. Corp., 976 F.2d at 508).
                  4            Here, Plaintiff and the Class Members all worked for Defendant as non-
                  5      exempt employees at the same location, and Plaintiff contends they were all subject
                  6      to the same allegedly non-compliant policies and practices. For example, Plaintiff
                  7      alleges that Defendant failed to provide her and the Class Members lawful meal
                  8      periods and rest breaks and associated premium pay, failed to properly pay all
                  9      overtime and minimum wages due (in part, due to an allegedly improper rounding
                 10      policy), failed to timely pay wages and associated waiting time penalties, and failed
                 11      to issue compliant wage statements which contained all applicable hourly rates in
                 12      effect during the pay period and the corresponding number of hours worked at each
                 13      hourly rate by the employee. As a result, Plaintiff contends that she and the Class
                 14      Members have suffered the same or similar injuries, resulting from the same or
                 15      similar conduct by Defendant.      Thus, the proposed class satisfies the typicality
                 16      requirement for settlement purposes.
                 17                   4.    Plaintiff And Her Counsel Will Adequately Represent The
                 18                         Class Members
                 19            A class representative must be able to “fairly and adequately represent the
                 20      interests of the class.” Fed. R. Civ. P. 23(a)(4). To determine whether this
                 21      requirement is met, the Ninth Circuit applies a two-pronged test: “(1) do the named
                 22      plaintiffs and their counsel have any conflicts of interest with other class members;
                 23      and (2) will the named plaintiffs and their counsel will prosecute the action
                 24      vigorously on behalf of the class. In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454,
                 25      462 (9th Cir. 2000). Both prongs are satisfied here.
                 26            Plaintiff has no conflict of interest with other Class Members. Plaintiff’s
                 27      interests are aligned with those of the Class Members, as she seeks payment for
                 28      unpaid wages on behalf of the Class Members. (Matern Decl., ¶ 40, Dkt. 24-1.)
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                  1      Plaintiff’s counsel also does not have any conflict of interest with the Class
                  2      Members. Id. at ¶ 39.
                  3            Additionally, both Plaintiff and her counsel have demonstrated that they will
                  4      vigorously represent the Class Members. Id. at ¶ 43. Plaintiff’s counsel has
                  5      extensive experience in prosecuting wage-and hour-class cases, and has previously
                  6      been appointed as class counsel in numerous wage-and-hour actions. Id. at ¶¶ 29-
                  7      38. Plaintiff and her counsel also have sufficient resources to enable them to
                  8      vigorously pursue the claims on behalf of the class. Id. at ¶ 41. Accordingly, the
                  9      adequacy requirement is satisfied.
                 10                   5.     A Class Action Is A Superior Method For Adjudicating This
                 11                          Action
                 12            Rule 23(b)(3)’s superiority requirement is satisfied where “classwide
                 13      litigation of common issues will reduce litigation costs and promote greater
                 14      efficiency,” or where “no reasonable alternative exists.”        Valentino v. Carter-
                 15      Wallace, Inc., 97 F.3d 1227, 1234-35 (9th Cir. 1996).                 When assessing
                 16      predominance and superiority, a court may consider that the proposed class will be
                 17      certified for settlement purposes only. See Amchem Prods., Inc. v. Windsor, 521 U.S.
                 18      591, 618-20 (1997). Where the matter is being settled, a showing of manageability at
                 19      trial is unnecessary. Amchem, 521 U.S. at 620.
                 20            Courts have recognized that, in wage-and-hour cases, an employer’s policies,
                 21      practices, and procedures often have a similar impact on large numbers of workers
                 22      such that class-based resolution is efficient and appropriate. See, e.g., Lerwill v.
                 23      Inflight Motion Pictures Inc., 582 F.2d 507, 512-13 (9th Cir.1978) (upholding a
                 24      decision certifying a class of workers seeking overtime pay, and finding that
                 25      “[n]umerous individual actions would be expensive and time-consuming and would
                 26      create the danger of conflicting decisions as to persons similarly situated”).
                 27             Here, class treatment is superior to other available means for the fair and
                 28      efficient adjudication of the controversy. The class consists of approximately 210
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                  1      persons, making individual cases impracticable. Furthermore, given the relatively
                  2      small amounts at issue, it is unlikely that any Class Member acting alone would
                  3      have pursued these claims against Defendant. See Leyva, 716 F.3d at 515 (“In light
                  4      of the small size of the putative class members’ potential individual monetary
                  5      recovery, class certification may be the only feasible means for them to adjudicate
                  6      their claims”). Class treatment will preserve judicial resources, save time, and limit
                  7      duplication of evidence and effort.       Thus, class treatment is superior to other
                  8      available methods of resolution.
                  9      VII. CONCLUSION
                 10            For the foregoing reasons, Plaintiff respectfully requests that this Court: (1)
                 11      grant preliminary approval of the Settlement; (2) approve the content and plan for
                 12      distribution of the Notice Packet; (3) certify the proposed class for settlement
                 13      purposes; (4) appoint Plaintiff as class representative; (5) appoint Matthew J.
                 14      Matern, Launa Adolph and Kayvon Sabourian of Matern Law Group, PC, as Class
                 15      Counsel; and (6) schedule a Final Approval Hearing.
                 16
                 17      DATED: March 25, 2019                    Respectfully submitted,
                 18                                               MATERN LAW GROUP, PC
                 19
                 20                                         By:   /s/ Matthew J. Matern
                 21                                               MATTHEW J. MATERN
                                                                  LAUNA ADOLPH
                 22                                               KAYVON SABOURIAN
                                                                  Attorneys for Plaintiff
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